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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 AVIATION SERVICES LLC, CIG                     )
 DEVELOPMENT LLC, and GREGORY J.                )
 LANDIS,                                        )
                                                )
                                 Plaintiffs,    )
                                                     No. 23 C 3103
                                                )
                      v.                        )
                                                     Chief Judge Pallmeyer
                                                )
 UNITED STATES SMALL BUSINESS                   )
 ADMINISTRATION,                                )
                                                )
                                 Defendant.     )

                      DEFENDANT’S UNOPPOSED MOTION
             FOR EXTENSION OF TIME TO FILE RESPONSIVE PLEADING

       Defendant U.S. Small Business Administration, by its attorney, Morris Pasqual, Acting

United States Attorney for the Northern District of Illinois, submits this unopposed motion for a

30-day extension of time to answer or otherwise respond to the complaint. In support of this

motion, SBA states as follows:

       1.     This is a case under the Freedom of Information Act, 5 U.S.C. § 552, seeking

documents relating to pandemic-related loan programs. Plaintiffs filed this case on May 17, 2023,

Dkt. 1, and completed service on SBA on June 8. Under 5 U.S.C. § 552(a)(4)(C), SBA’s

responsive pleading is due Monday, July 10 (because 30 days after June 8 is July 8, which is a

Saturday).

       2.     The complaint in this case arises out of certain FOIA requests and subsequent

appeals. Dkt. 1 ¶¶ 10-37. Although SBA is aware of and promptly responded to the FOIA

requests, it has no record of having received the appeals. To give SBA the opportunity to process

the appeals and potentially resolve this case without further litigation, SBA requests a 30-day
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extension of time to respond to the complaint. Plaintiffs do not oppose this motion. In addition to

giving SBA the opportunity to process the appeals, the requested extension also will give SBA

time to further assess the allegations in the complaint and prepare a responsive pleading.

       WHEREFORE, SBA requests that the court grant it a 30-day extension of time, through

and including August 9, 2023, to answer or otherwise respond to the complaint.

                                             Respectfully submitted,

                                             MORRIS PASQUAL
                                             Acting United States Attorney

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